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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10    AGA & TITAN INC.,                    Case No. 2:20-cv-02698-MCS-AS
11
                       Plaintiff,          JUDGMENT
12
13               v.
14
      UNITED SPECIALTY INSURANCE
15    COMPANY,
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                       Defendant.
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Case 2:20-cv-02698-MCS-AS Document 170 Filed 06/23/22 Page 2 of 2 Page ID #:5240



 1         Pursuant to the Court’s orders and the jury’s verdict, it is ordered, adjudged and
 2   decreed:
 3         Judgment is entered in favor of Plaintiff AGA & Titan, Inc., and against
 4   Defendant United Specialty Insurance Company on Plaintiff’s claim for breach of
 5   contract. Plaintiff shall recover damages in the amount of $542,599.50.
 6         Judgment is entered in favor of Defendant and against Plaintiff on Plaintiff’s
 7   claim for breach of the covenant of good faith and fair dealing. Plaintiff shall take
 8   nothing on this claim.
 9
10   IT IS SO ORDERED.
11
12    Dated: June 23, 2022
13                                                  MARK C. SCARSI
                                                    UNITED STATES DISTRICT JUDGE
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